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                           UNITED STATES COURT OF APPEALS
                               FOR THE TENTH CIRCUIT
                                OFFICE OF THE CLERK
                                  Byron White United States Courthouse
                                           1823 Stout Street
                                        Denver, Colorado 80257
                                            (303) 844-3157
   Elisabeth A. Shumaker                                                              Chris Wolpert
   Clerk of Court                          July 03, 2018                         Chief Deputy Clerk


   Ms. Sue Becker
   Dr. Kris William Kobach
   Kansas Secretary of State
   120 SW 10th Avenue, 1st Floor
   Topeka, KS 66612-1594

   RE:       18-3133, Fish, et al v. Kobach
             Dist/Ag docket: 2:16-CV-02105-JAR

   Dear Counsel:

   The court has received and docketed your appeal. Please note your case number above.
   Copies of the Tenth Circuit Rules, effective January 1, 2018, and the Federal Rules of
   Appellate Procedure, effective December 1, 2017, may be obtained by contacting this
   office or by visiting our website at http://www.ca10.uscourts.gov. In addition, please note
   all counsel are required to file pleadings via the court's Electronic Case Filing (ECF)
   system. You will find information regarding registering for and using ECF on the court's
   website. We invite you to contact us with any questions you may have about our
   operating procedures. Please note that all court forms are now available on the court's
   web site.

   Attorneys must complete and file an entry of appearance form within 14 days of the date
   of this letter. See 10th Cir. R. 46.1(A). Pro se parties must complete and file the form
   within thirty days of the date of this letter. An attorney who fails to enter an appearance
   within that time frame will be removed from the service list for this case, and there may
   be other ramifications under the rules. If an appellee does not wish to participate in the
   appeal, a notice of non-participation should be filed via ECF as soon as possible. The
   notice should also indicate whether counsel wishes to continue receiving notice or service
   of orders issued in the case.

   You are required to file a docketing statement within 14 days of filing the notice of
   appeal. If you have not yet filed that pleading, you should do so within 14 days of the
   date of this letter. Please note that under 10th Cir. R. 3.4(B), the appellant is not limited
   to the issues identified in his docketing statement and may raise other appropriate issues
   in the opening brief.
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   In addition to the docketing statement, all transcripts must be ordered within 14 days of
   the date of this letter. If no transcript is necessary, you must file a statement to that effect.

   Appellant is not required to file a designation of record, but will be required to file an
   appendix with appellant's opening brief. See 10th Cir. R. 10.2(B) and 30.1.

   Appellant must file an opening brief and appendix within 40 days after the date on which
   the district clerk notifies the parties and the circuit clerk that the record is complete for
   purposes of appeal. See 10th Cir. R. 31.1(A)(1). Motions for extension of time to file
   briefs and appendices must comply with 10th Cir. R. 27.1 and 27.5. These motions are
   not favored.

   Briefs must satisfy all requirements of the Federal Rules of Appellate Procedure and
   Tenth Circuit Rules with respect to form and content. See specifically Fed. R. App. P. 28
   and 32 and 10th Cir. R. 28.1, 28.2 and 32, as well as 31.3 when applicable. In addition,
   we encourage all counsel, as applicable, to be familiar with 10th Cir. R. 46.4(B). Seven
   hard copies of briefs must be provided to the court within two days of filing via the
   court's Electronic Case Filing system. See 10th Cir. R. 31.5 and the court's CM/ECF
   User's Manual. Appendices must satisfy the requirements of Fed. R. App. P. Rule 30 and
   10th Cir. R. 30.1(A) through (F). Appendix volumes submitted under seal must be
   accompanied by a separate motion to seal. See 10th Cir. R. 30.1(D)(6). As of January 1,
   2015, all appendices must be filed electronically, and a single hard copy provided to the
   court within two days of filing via the court's Electronic Case Filing system. See 10th Cir.
   R. 30 as well as the court's CM/ECF User's Manual. Counsel are encouraged to utilize the
   court's Briefing & Appendix checklist when compiling their briefs and appendices.

   Please contact this office if you have questions.

                                                 Sincerely,



                                                 Elisabeth A. Shumaker
                                                 Clerk of the Court
             Stephen Douglas Bonney
   cc:       Rodkangyil Orion Danjuma
             Mark T. Emert
             Dale Ho
             Sophia Lin Lakin
             Samantha Wenger
             Curtis E. Woods



   EAS/klp
